      Case 1:22-cr-00087 Document 36 Filed on 06/24/22 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                              UNITED STATES DISTRICT COURT                                  June 24, 2022
                               SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 BROWNSVILLE DIVISION


UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §         CRIMINAL NO. 1:22-CR-087-1
                                                §
OMAR GONZALEZ-VILLASANA                         §

                                            ORDER

      On June 24, 2022, the Court reviewed the file in the above-captioned matter and

specifically the Report and Recommendation of the United States Magistrate Judge filed March

25, 2022, wherein the defendant Omar Gonzalez-Villasana waived appearance before this Court

and appeared before the United States Magistrate Judge Ignacio Torteya, III for the taking of a

felony guilty plea and Federal Rule of Criminal Procedure Rule 11 Allocution. The magistrate

judge recommends that the plea of guilty be accepted by the undersigned, and noting no

opposition by defendant Omar Gonzalez-Villasana to the Report and Recommendation, the

Court enters the following order:

       IT IS ORDERED that the Report and Recommendation of the United States Magistrate

Judge be and is hereby adopted. The Court finds the Defendant Omar Gonzalez-Villasana guilty

of the offense of alien who had previously been denied admission, excluded, deported, and

removed, was unlawfully present in the United States having been found in Cameron County,

Texas, without having obtained consent to reapply for admission into the United States from

the Attorney General of the United States and Secretary of Homeland Security, in violation of

Title 8, United States Code, Section 1326(a) and (b)(1), as charged in the Indictment.

       Signed on June 24, 2022.

                                                    ____________________________
                                                    Fernando Rodriguez, Jr.
                                                    United States District Judge
